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AO 450   (Rev. 5/99)   Judgment in a   Civil   Case



                                 United States District Court                                        ,''°
                                            Western District of Texas
  LADY VANESSA MORENO NOLASCO, As
  Next Friend of ALEJANDRO GOMEZ NUNES,
  Petitioner,
                                                                JUDGMENT IN A CIVIL CASE
                                       V.

   KEVIN K. MCALEENAN, MARK MORGAN,                                                 DR49CV42-AM/CW
   FELIX CHAVEZ, AND CESAR ESCAJEDA,                         CASE NUMBER:
   Respondents.


    Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
    has rendered its verdict.

    Decision by Court. This action came on for consideration before the Court. The issues have been considered
    and a decision has been rendered.

    IT IS ORDERED AND ADJUDGED
    that the above-cai,tioned cause of action is DISMISSED WITHOUT PREJUDICE. It is further
    ORDERED that the Clerk of Court shall close the case and terminate all pending motions.




                              11/20/2019                                     Jeannette J. Clack
Date                                                       CIerJ




                                                                                  flU/Zti2.
                                                           (B   D   Pu   Clerk
